        Case 3:24-cr-00490-KC           Document 59       Filed 09/17/24      Page 1 of 3




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

USA                                              §
                                                 §
vs.                                              §       NO: EP:24-CR-00490(2)-KC
                                                 §
(2) ANGEL DAVID ZAMORA                           §

            REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
                    UPON DEFENDANT’S PLEA OF GUILTY

       On this 17th day of September, 2024, the Defendant and counsel appeared before the

Court. After being admonished as required by Rule 11, Fed.R.Crim.P., the Defendant pled

guilty to Count One of the Indictment charging him with Trafficking in Firearms, in violation of

Title 18 U.S.C. § 933(a)(1), (a)(3), and (b), pursuant to a Plea Agreement.

       Accordingly, the Court makes the following findings:

       1.      The Defendant has consented to the entry of a guilty plea before a Magistrate

               Judge, subject to final approval and sentencing by the presiding United States

               District Judge.

       2.      The Defendant fully understands the oath and the consequences of failing to tell

               the truth at the plea hearing.

       3.      The Defendant fully understands the right to plead “not guilty” and to be tried by a

               jury.

       4.      The Defendant fully understands the right to be represented by counsel at trial and

               at every other stage of the proceeding.

       5.      The Defendant fully understands the right to a trial and that if the Defendant were to

               elect to go to trial, the Defendant would have the right to confront and cross-examine
 Case 3:24-cr-00490-KC         Document 59        Filed 09/17/24         Page 2 of 3




      adverse witnesses, to be protected from compelled self-incrimination, to testify and

      present evidence, and to compel the attendance of witnesses.

6.    The Defendant fully understands that if the guilty plea is accepted, there will not be a

      trial in this case.

7.    The Defendant fully understands the nature of the charge and the maximum possible

      penalties, including any imprisonment, applicable mandatory minimum penalties,

      fine, term of supervised release, as well as any forfeiture or restitution.         The

      defendant also understands the court’s obligation to impose a special assessment.

8.    The Defendant fully understands that in determining sentence, the sentencing court

      will consider the applicable Sentencing Guidelines, including any departures that

      might be applicable, as well as the sentencing factors under 18 U.S.C. § 3553(a).

      The Defendant also fully understands that although the sentencing court will consider

      the applicable sentencing guidelines, they are advisory in nature.

9.    The Defendant fully understands the terms of the Plea Agreement. The Defendant

      also fully understands that in the Plea Agreement, the Defendant has waived the

      right to appeal or collaterally attack the sentence to be imposed by the District Judge.

      The Defendant also understands that, if the court does not follow or apply any

      recommended or requested sentencing adjustments contained in the Plea Agreement,

      the Defendant will have no right to withdraw the plea of guilty.

10.   The Defendant’s plea was not induced by any promises, other than those set forth

      in the Plea Agreement, and the Defendant’s plea was not induced by any threats,

      force or threats of force.

11.   The Defendant is competent to enter a plea.
        Case 3:24-cr-00490-KC          Document 59         Filed 09/17/24   Page 3 of 3




       12.     The Defendant’s plea is made freely, knowingly, and voluntarily.

       13.     There is a factual basis to support the plea of guilty.

       14.     The parties stipulate that no forfeiture issues are before the Court because the

               matter has been resolved administratively.



                                     RECOMMENDATION

       Based on the foregoing, it is recommended to the district judge that the Defendant’s plea

of guilty be accepted and that a judgment of guilt be entered.

       SIGNED and ENTERED this 17th day of September, 2024.


                                                     ______________________________
                                                     ROBERT F. CASTANEDA
                                                     UNITED STATES MAGISTRATE JUDGE



                                             NOTICE

FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
RECOMMENDATION CONTAINED IN THE FOREGOING REPORT, PRIOR TO
SENTENCING, MAY BAR DE NOVO DETERMINATION BY THE DISTRICT JUDGE
OF AN ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY THE
DISTRICT JUDGE.
